Case 16-22255-VFP        Doc 119     Filed 04/08/19 Entered 04/08/19 14:45:46            Desc Main
                                    Document      Page 1 of 3


 Rob Saltzman, Esquire
 PLUESE, BECKER & SALTZMAN, LLC
 RS1765
 20000 Horizon Way, Suite 900
 Mount Laurel, NJ 08054-4318                           UNITED STATES BANKRUPTCY COURT
 telephone: 856-813-1700                                FOR THE DISTRICT OF NEW JERSEY
 telecopier: 856-813-1720
 email: rsaltzman@pbslaw.org
 Attorneys for the Mortgagee
 File No. 087494B
                                                       :
 In re: Christopher Bailey                                    CASE NO. 16-22255-VFP
 aka Chris Bailey                                      :
                                                              CHAPTER 13
 Judith A. Bailey                                      :
                                                                    CERTIFICATION OF COUNSEL
        DEBTORS                                        :            IN OPPOSITION TO DEBTOR’S
                                                                  APPLICATION TO EXTEND COURT
                                                                    ORDERED LOSS MITIGATION




        Rob Saltzman, of full age, hereby certifies as follows:



        l. I am an attorney, licensed to practice law in the State of New Jersey, am a member of the firm of

 Pluese, Becker & Saltzman, LLC and am responsible for the representation of the Mortgagee, LoanCare,

 servicer for CIT Bank, N.A.(the “Mortgagee”) in the above-captioned matter. I make this Certification from

 my own personal knowledge based upon documents contained in my file and am authorized to make this

 Certification on behalf of the Mortgagee.



        2. The Debtors executed the underlying $448,000 purchase money Mortgage on June 5, 2007. . The

 Note set forth an adjustable rate of 7% and a Principal and Interest (“P & I”) payment of $1,493.33. The

 Mortgage encumbered property located at 14 South Hall Court, Wayne, NJ 07470. (The “Subject Property”).
Case 16-22255-VFP         Doc 119     Filed 04/08/19 Entered 04/08/19 14:45:46               Desc Main
                                     Document      Page 2 of 3

         3. The Debtors applied for and received a Loan Modification, effective as of February 1, 2012. The

 Modification featured a step interest rate of 2% for the first five years, 3% for the sixth year and 3.875% for

 the remainder of the term. The new unpaid principal balance was set at $574,291.86. The amount of

 $174,638.55 was deferred with a chance to have the amount of $62,541.86 forgiven as long as the Debtors did

 not default for three months or more.



         4. The Debtors defaulted on their obligation pursuant to the Note and Mortgage on November 1,

 2015.



         5. A Complaint in Foreclosure was filed on May 26, 2016, Docket number F-014901-16.



         6 On June 24, 2016, the Debtors filed the within Chapter 13 Petition. The Mortgagee’s Proof Claim

 is for $570,097.83, with a pre-Petition arrearage of $28,024.55.



         7. On September 21, 2018, the Debtors were granted entry into the Court’s Loss Mitigation Program.

 Loss Mitigation was to terminate on December 21, 2018.



         8. On December 21, 2018, an Application to Extend the Loss Mitigation Period was filed. On January

 2, 2019, an Order Extending the Loss Mitigation Period to March 21, 2019 was filed.



         9. The Mortgagee recently completed a comprehensive analysis of the Debtors’ circumstances and

 determined that the Debtors were not eligible for any available modification, forbearance, or similar

 consensual resolution to the default.    See Exhibit “A,” Denial Letter. Any appeals were to be filed by

 February 9, 2019.

                                                       -2-
Case 16-22255-VFP         Doc 119     Filed 04/08/19 Entered 04/08/19 14:45:46               Desc Main
                                     Document      Page 3 of 3

        10. The Debtors submitted a new loss mitigation package and the application was denied on March

 11, 2019 for an incomplete submission. See Exhibit “B,” Denial Letter.



        11. The Debtors have defaulted on a February 2012 Loan Modification and was denied for any

 available modification or forbearance agreements therefore, further extension of the Loss Mitigation Program

 would be futile.    The Mortgagee respectfully requests the Debtors’ Request for an Extension of Loss

 Mitigation be denied.



 I hereby certify that the foregoing statements are true and correct to the best of my knowledge, information,

 and belief. I am aware that if any of the foregoing statements are willfully false, I am subject to punishment.


 DATED: April 8, 2019
 Respectfully submitted,
 Pluese, Becker & Saltzman, LLC


 By: /s/ Rob Saltzman
    Rob Saltzman, Esquire




                                                       -3-
